             Case 1:17-cv-01046-LY Document 1 Filed 11/06/17 Page 1 of 4



                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

NEWMAN APARTMENTS CIELO                                  §
REVOCABLE TRUST                                          §
                                                         §        CIVIL ACTION NO. 17-cv-1046
v.                                                       §
                                                         §        JURY DEMANDED
COVINGTON SPECIALTY INSURANCE                            §
COMPANY, AND ENGLE MARTIN &                              §
ASSOCIATES INC.                                          §

                              DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Defendant Engle Martin & Associates, LLC1 files this Notice of Removal pursuant to 28

U.S.C. §§ 1332, 1441, and 1446 as follows:

                                       I. N ATURE OF THE S UIT
        1.       This is an insurance coverage and bad faith lawsuit arising out of an insurance

claim submitted by Plaintiff for alleged wind and hail damage to an apartment complex owned

and/or operated by Plaintiff and insured by Defendant Covington Specialty Insurance Company,

who has not been served. Plaintiff alleges generally that Defendants improperly investigated its

insurance claim and wrongfully underpaid the claim. See generally Appendix, Exhibit B.

                                 II. P ROCEDURAL B ACKGROUND
        2.       On August 31, 2017, Plaintiff filed an Original Petition initiating an action in the

170th Judicial District Court of McLennan County, Texas, bearing Cause No. 2017-2881-4 (“the

State Court Action”). See Appendix, Exhibit B. No jury demand was made in the State Court

Action. See Appendix, Exhibit B.



1
 Although correctly named as “Engle Martin & Associates, Inc.” at the time Plaintiff’s petition was filed, Engle
Martin converted its corporate structure to a limited liability company (LLC) effective October 1, 2017.

                                                         1
            Case 1:17-cv-01046-LY Document 1 Filed 11/06/17 Page 2 of 4



       3.      Defendant was served with the Original Petition on October 30, 2017.             See

Appendix, Exhibit E.

       4.      This Notice of Removal is timely filed within the 30-day statutory time period for

removal under 28 U.S.C. § 1446(b)(1), being filed within 30 days of service on Defendant.

       5.      This Notice of Removal is also timely filed within one year after commencement

of the State Court Action, in compliance with 28 U.S.C. § 1446(c)(1).

                                III. B ASIS FOR R EMOVAL
       6.      This Court has original diversity jurisdiction under 28 U.S.C. § 1332 over this

civil action, and the action may be removed by Defendant pursuant to 28 U.S.C. § 1441(b), as it

is a civil action between citizens of different states, and the matter in controversy as to each

underwriter exceeds the sum of $75,000, exclusive of interest and costs.

       7.      According to Plaintiff’s state court pleadings, Plaintiff alleges it is a citizen or

inhabitant of Texas. See Appendix, Exhibit B at ¶ 2.

       8.      None of the Defendants are citizens of Texas.          Defendant Engle Martin &

Associates, LLC is incorporated in Georgia and has its principal place of business in Georgia.

Defendant Covington Specialty Insurance Company is incorporated in New Hampshire and has

its principal place of business in Georgia. Therefore, complete diversity of citizenship exists

among the parties.

       9.      Plaintiff’s Original Petition states that it seeks monetary relief “over $1,000,000.”

See Appendix, Exhibit B at ¶ 77. Because the amount in controversy exceeds $75,000 on the

face of Plaintiff’s pleading, this Court has subject-matter jurisdiction under 28 U.S.C. § 1332,

and this removal is proper.




                                                 2
              Case 1:17-cv-01046-LY Document 1 Filed 11/06/17 Page 3 of 4



        10.     Removal to the Western District of Texas, Austin Division is proper because the

state court action is pending in McLennan County, which is part of the Western District. A suit

that is proper in one division of a federal district is proper in any division of that district.2

Counsel for all parties have either their primary office or a local office in the Austin Division.

        11.     In compliance with 28 U.S.C. § 1446(a), Defendant also attaches to this Notice of

Removal: (a) the state court docket sheet, (b) all service of process on Defendant, (c) all

documents filed in the state court, and (d) all orders issued by the state court. See Appendix.

        12.     In compliance with 28 U.S.C. § 1446(d), Defendant hereby certifies that its

counsel will promptly notify the clerk of the court in the State Court Action and all adverse

parties of this removal.

        13.     Defendant       is   simultaneously       filing   a    separately     signed     Corporate

Disclosure/Certificate of Interested Parties which complies with FED. R. CIV. P. 7.1.

                                IV. C ONCLUSION AND P RAYER
        14.     The basis for this removal and this Court’s jurisdiction is diversity of citizenship

under 28 U.S.C. §1332 because there is complete diversity among the parties and the amount in

controversy exceeds $75,000, exclusive of interest and costs. As such, this removal is proper

under 28 U.S.C. §1441. On these grounds, Defendant hereby removes the referenced State Court

Action to this Court.

        15.     Defendant demands a jury in this removed action.

        16.     THEREFORE, Defendant Engle Martin & Associates, LLC respectfully requests

that the above-entitled action be removed from the 170th Judicial District Court of McLennan

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  United States v. Real Prop. Known As 200 Acres of Land Near FM 2686 Rio Grande City, Tex., 773 F.3d 654, 658
(5th Cir. 2014) (quoting Says v. M/V DAVID C DEVALL, 161 F. Supp. 2d 752, 753 (S.D. Tex. 2001)). See also
Olivarez v. GEO Group, Inc., EP-14-CV-00436-FM, 2015 WL 13227823, at *3 (W.D. Tex. Feb. 12, 2015) (unpub.
op.); McPherson v. Leam Drilling Sys., LLC, 2:14-CV-00113, 2014 WL 4063983, at *3 (S.D. Tex. Aug. 15, 2014)
(unpub. op.).

                                                      3
            Case 1:17-cv-01046-LY Document 1 Filed 11/06/17 Page 4 of 4



County, Texas to the United States District Court for the Western District of Texas, Austin

Division.

                                        Respectfully submitted,


                                        /s/ Barrie J. Beer
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                                        ATTORNEY-IN-CHARGE FOR DEFENDANT

OF COUNSEL:

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                              CERTIFICATE OF SERVICE


        I hereby certify that a true and correct copy of Defendant’s Notice of Removal was
served this 6th day of November, 2017 on the following counsel of record by the method
specified:

        Sean Bukowski                               CMRRR:
        THE BUKOWSKI LAW FIRM, PC                   70110110000170718850
        1601 Rio Grande, Ste. 300A                  And Email:
        Austin, Texas 78701                         sbukowski@bukowskilawfirm.com


                                                /s/ Barrie J. Beer
                                                Barrie J. Beer



                                            4
